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IN THE DISTRICT COURT OF OKLAHOMA COUNTY
STATE OF OKLAHOMA

Karen and Sheldon Stone, individually
and as parents to LS,, a minor,

Plaintiffs,

Case Nou: Cs. 2020 1727 ‘

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District, Independent Scheol District
Number 52, of Oklahoma County,
Oklahoma, Cindy Anderson and
Rodney Ray Strong,

FILED IN DISTRICT COURT
OKLAHOMA COUNTY

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Midwest City ~ Del City Public School —)
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Defendants.

PETITION 70
Plaintiffs, individually, and as parents to 1,S., a minor, for their cause of action against
Defendants, allege and state as follows:

l, Plaintiffs Karen and Sheldon Stone individually, and ag parents to LS., a minor,
(heteinafter “Plaintiffs”) are residents of the City of Oklahoma City, State of Oklahoma,

2, Defendant Midwest City - Del City Public School District, Independent Schoo! District
Number 52, of Oklahoma County, Oklahoma (hereinafter “Defendant School District”) is
located in the City of Midwest City, State of Oklahoma.

3. Defendant Cindy Anderson (hereinafter “Defendant Anderson”) is a resident of the City of
Choctaw, State of Oklahoma,

4, Defendant Rodney Ray Strong (hereinafter “Defendant Strong”) is a resident of the Clty
of Oklahoma City, State of Oklahoma,

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. Venue in this Court is appropriate because the Defendants are situated in Oklahoma

County, and the incident that gives rise to this litigation occurred in Oklahoma County,

State of Oklahoma.

. Defendant’s mission statement begins; “When the young people of Mid-Del enter our

schools, they will be safe.” (Emphasis by Defendant.)

. On May 3, 2018, Plaintiffs’ son, 1.S., wes a student at Carl Albert Middle School, He was

enrolled in an industrial arts class which was to be taught, monitored and supervised by
Defendant Strong, a teacher at Car} Albert Middle School and an employee of the
Defendant School District, Defendant Anderson is the Principal of Carl Albert Middle

School,

. Defendant Strong had previously stated ~in writing ~ that children in his class would at all

times be “supervised and assisted while executing wood shop projects.” (See Shap Safety

Procedures dated August 17, 2018; Strong000106.)

. While in class on May 3, 2018, students were utilizing high-powered table saws to

complete various projects. Prior to being able to use the table saw, Plaintiffs’ child and the
other students in the industrial arts class at Carl Albert Middle School were taught through
video and written, materials that a blade guard and other safety devices were to be used,
Plaintiffs’ child was injured on a day when 18 children were permitted to operate multiple
high-powered spinning saws simultaneously, with only one adult present (Defendant

Strong),

10. Specifically, as multiple students needed to use the table saw, a line was forming and

Students were idle while waiting, At this point, Defendant Strong decided to utilize a

second table saw that had not before been used during that class period, On the newly

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utilized table saw, there was a list of safety rules placed on the saw by the manufacturer.
The first rule listed was, “[k]eep the safety guard in place.”

1]. Defendant Strong, fully aware of his teachings, fully aware of the video demonstrations,
fuily aware of the written materials, fully aware of the manufacturing safety rules, and fully
aware of Defendants’ safety policy, removed the guard from over the blade, plugged in the

machine, tumed on the machine, demonstrated. one cut of the board, then told Plaintiffs’

child to take over. Eventually, Defendant Strong walked away from the unguarded

machine being utilized by the novice student.
12. Shortly thereafter, Plaintiffs’ child was severely injured when his left hand came into
contact with the unguarded, actively spinning, blade of a table saw, It was during this time

frame that Plaintiffs’ child's fingers were violently amputated, mutilated, and dislocated at

multiple levels, resulting in amputation and lifelong impairment/disfigurement.

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13. This was not the first incident that occurred in an industrial arts class conducted under the
supervision of Defendant Strong.

a On December 6, 2012, an injury occurred to a student’s finger while using a saw.
The wound was severe enough to require dressing. Defendant School District
received iotice of this injury.

b. On November 4, 2013, an injury occurred to a student's finger while using a saw,
The wound was severe enough to require dressing, Defendant School District
received notice of this injury and Defendant Anderson received notice of this injury.

c, On October 21, 2016, an injury occurred to a student’s finger while using a saw,
The wound was severe enough that a parent was asked to come pick the student up
and take them to the hospital. Defendant School District received notice of this
injury,

d, On November 4, 2016, an injury occurred to a student’s finger while using a saw.
The wound was severe enough to require dressing. Defendant School District
received notice of this injury.

e, On November 21, 2017, an injury occurred to a student’s finger while using a saw,
The wound was severe enough that a parent was asked to come pick the student up
and take them to the hospital, Defendant School District received notice of this
injury and Defendant Anderson also received notice of this incident,

14, After each of the injury producing events involving students using saws under the
supervision of Defendant Strong described in paragraph 12, and after the injury producing
event to Plaintiffs’ child that occurred on May 3, 2018, Defendant School District and

Defendant Anderson made no changes to any school policies, took no remedial actions to

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ensure that injuries did not happen in the industrial arts classes supervised by Defendant
Strong, and provided no further training or discipline to Defendant Strong,

15. As the facts set out above demonstrate, Defendant Strong, while acting under the color of
state law, intentionally deprived Plaintiffs, individually, and as parents to LS., a minor, of
their federally protected constitutional right provided by the Fourteenth Amendment to
“life, liberty, or property.”

16, Defendant Strong's intentional removal of the blade guard and instruction to Plaintiff's
child to use the unguarded saw, while unsupervised, despite being fully aware of his
teachings, fully aware of the video demonstrations, fully aware of the written materials,
fully aware of the manufacturing safety rules, and fully aware of Defendants’ safety policy,
was the direct cause of the deprivation of rights suffered by Plaintiffs, individually, and as
parents to 1.8., a minor.

17. The deprivation of rights described above has led to Plaintiffs, individually, and as parents
to LS., a minor, suffering severe and permanent injuries, Plaintiffs, individually, and as
parents to [.5., a minor, have also suffered past, present and future: pain, suffering,
permanent disability, permanent disfigurement, mental anguish, medical expense,
impairment of earning capacity, loss of household services, and Joss of enjoyment and
quality of life,

18, Defendant Strong’s intentional and irrational actions leading to the deprivation of right
were conscience shocking.

19, Despite the Defendant School District and Defendant Anderson maintaining a mission
statement that claims students will be safe while in their schools, multiple and substantially

sitnilar injuries occurred in the indusirial arts olags supervised by Defendant Strong,

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Incident reports were created and Defendant School District and Defendant Anderson were
made aware of each of these injuries occurring in the industria! arts class supervised by
Defendant Strong.

By failing to make changes to any schoo! policies, or taking remedial actions to ensure that
infuries did not happen in the industrial arts classes supervised by Defendant Strong, and
by further failing to provide no further training or discipline to Defendant Strong, the
Defendant School District and Defendant Anderson have created a custom and practice of
inadequate and “absentee” supervision, and otherwise wholly failed to train a state actor
under its control and supervision, in such a manner that resulted in. the deprivation of
Plaintiffs’ child’s federally protected constitutional right provided by the Fourteenth
Amendment to “tife, liberty, or property,”

The deprivation of right described above has Jed to Plaintiffs, individually, and as parents
to LS., a minor, suffering severe. and permanent injuries, Plaintiffs, individually, and as
parents to LS., a minor, have also suffered past, present and future: pain, suffering,
Permanent disability, permanent disfigurement, mental anguish, medical expense,
impairment of earning capacity, loss of household services, and loss of enjoyment and
quality of life.

Defendant School District's and Defendant Anderson’s custom of failing to supervise and

failing to train that leading to the deprivation of right was conscience shocking.

WHEREFORE, Plaintiffs demand judgment against the Defendants in an amount in excess

of $75,000.00 for their damages, together with interest, attorney fees, costs, punitive damages and

any further relief the court deems equitable, Just and available to Plaintiffs by law.

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Respectfully submitted,

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